      Case 24-90533 Document 283 Filed in TXSB on 12/04/24     Page 1 of 1
                                                      Page 1 of 1


UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2024-90533
      Wellpath Holdings, Inc. and The Special Committee of the Board of Directors
      of



      Case Type :                    bk
      Case Number :                  2024-90533
      Case Title :                   Wellpath Holdings, Inc. and The Special Committee of the Board of
                                     Directors of
      Audio Date\Time:               11/12/2024 5:00:14 PM
      Audio File Name :              4bk2024-90533_20241112-170014.mp3
      Audio File Size :              29156 KB
      Audio Run Time :               [01:00:45] (hh:mm:ss)




Help using this file:

         An audio file is embedded as an attachment in this PDF document. To listen to the file,
         click the Attachments tab or the Paper Clip icon. Select the Audio File and click Open.

MPEG Layer-3 audio coding technology from Fraunhofer IIS and Thomson.


         This digital recording is a copy of a court proceeding and is provided as
         a convenience to the public. In accordance with 28 U.S.C. § 753 (b)
         "[n]o transcripts of the proceedings of the court shall be considered as
         official except those made from the records certified by the reporter or
         other individual designated to produce the record."
